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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:20-CR-2-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 KRYSTEN POWELL,                                     )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 343 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Powell’s guilty plea and adjudge her guilty

of Count 1 of the Superseding Indictment (DE 207). See DE 344 (Recommendation); see also DE

335-1 (Plea Agreement). Judge Ingram expressly informed Defendant of her right to object to the

recommendation and to secure de novo review from the undersigned. See DE 344 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
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        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 344, ACCEPTS Powell’s guilty plea, and ADJUDGES her

           guilty of Count 1 of the Superseding Indictment (DE 207);

        2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

           (DE 335-1 ¶ 9), the Court provisionally FINDS that the property identified in the

           operative indictment (DE 207 at 8-9) is forfeitable and that Powell has an interest in

           said property, and preliminarily ADJUDGES Defendant’s interest in such property

           FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection, “the

           preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

           Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

           (b)(4)(B);

        3. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

        4. The Court will issue a separate sentencing order.1

        This the 25th day of August, 2020.




1
 At the hearing, Judge Ingram remanded Powell to custody. See DE 343. The Court, thus, sees no
need to further address detention, at this time.
                                                 2
